46 F.3d 1142
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Jack W. KASPER, Petitioner,v.FEDERAL AVIATION ADMINISTRATION;  National TransportationSafety Board, Respondents.
    No. 93-70729.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 9, 1995.*Decided Feb. 7, 1995.
    
      1
      Before:  PREGERSON and TROTT, Circuit Judges, and FITZGERALD,** Senior District Judge.
    
    
      2
      ORDER***
    
    
      3
      Petitioner Jack W. Kasper seeks review of the National Transportation Safety Board's (NTSB) order suspending his commercial pilot certificate for 15 days for twice flying an aircraft lacking a valid registration number.  The petitioner maintains his conduct in no way jeopardized air safety and that any suspension is an abuse of discretion.  It is the position of the NTSB that a pilot's compliance disposition bears upon his or her care, judgment, and responsibility as a certificate holder.  Administrator v. Kowal, 5 N.T.S.B. 387 (1985).  We agree.  This court recently held that "[the] mere fact that a particular action or omission, as here, is held not to have had an adverse effect on the safety of persons or property, does not undermine the Administrator's authority to hold that the same type of action should be sanctioned because it could, if generally permitted, compromise overall aviation safety."   Reno v. N.T.S.B., No. 93-70275, slip op. 1009, 1014 (9th Cir.  Jan. 25, 1995).
    
    
      4
      This panel reviewed the record and considered the NTSB's order of suspension.  We review an order of the NTSB in accordance with the Administrative Procedures Act (APA).  Howard v. FAA, 17 F.3d 1213, 1215 (9th Cir.1994).  Under the APA, a reviewing court "shall hold unlawful and set aside agency action, findings, and conclusions found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law."   Id. (quoting 5 U.S.C. Sec. 706(2)(A)).  The Board's factual findings are considered conclusive if supported by substantial evidence.  Id.  We review purely legal questions de novo.  Id.
    
    
      5
      We find and conclude that the petitioner failed to show that the decision of the NTSB was arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the law, and we therefore deny the petition and affirm the NTSB's order of suspension.
    
    
      6
      PETITION DENIED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         The Honorable James M. Fitzgerald, Senior United States District Judge for the District of Alaska, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    